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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                        )
                                                 )
                            Plaintiff,           )
                                                 )
v.                                               )      Case No. 4:96CR3043
                                                 )
PORSHA R. TURNER MAYER,                          )
                                                 )
                            Defendant.           )

                                         ORDER

       THIS MATTER comes before the Court on Defendant's unopposed motion to

continue the January 18, 2008, revocation hearing in this case until a date and time certain

for not less than 60 days, filing 159. The Court, being fully advised in the premises, and

noting that the Government and the probation office have no objection, finds that said

motion should be granted.

       IT IS THEREFORE ORDERED that the revocation hearing scheduled in this case

shall be continued until the 20th day of March, 2008, at 12:00 noon. The Defendant is

ordered to appear at such time.

       January 11, 2008.                         BY THE COURT:

                                                 s/ Richard G. Kopf
                                                 United States District Judge
